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                      EXHIBIT
                        B
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      Case: 4:19-cv-02554-SEP Doc. #: 1-2 Filed: 09/13/19 Page: 3 of 22 PageID #: 30
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                            IN THE CIRCUIT COURT OF JEFFERSON COUNTY
                                        STATE OF MISSOURI

                                                             )
     DAN CREPPS,                                             )
     individually and on behalf of                           )       Case No. __________
     all others similarly situated,                          )
                                                             )
              Plaintiffs,                                    )
                                                             )       JURY TRIAL DEMANDED
      v.                                                     )
                                                             )
      CONOPCO, INC., d/b/a UNILEVER,                         )
      DOES 1 through 10,                                     )
                                                             )
              Defendants.                                    )

                                            CLASS ACTION PETITION

           Plaintiff Dan Crepps, individually and on behalf of all others similarly situated, hereby files this,

his Class Action Petition, against Defendant Conopco, Inc., d/b/a                       and DOES 1 through

10                                          their false, misleading, and deceptive marketing of their

products in

                                      I.     INTRODUCTION

       1.         Defendant Unilever markets and sells many different consumer products, including

deodorant and antiperspirant sticks. One such product is Degree -branded, MotionSense

                    antiperspirant.

       2.         The       UltraClear Black + White     line of products is deceptively and misleadingly

marketed as

prevent white marks and staining; yet, in reality, the Ultraclear line of antiperspirant is nothing more

than a slightly diluted version of regular                       -

containing essentially the same ingredients

staining.

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     3.         Compared to the non- Ultraclear                          MotionSense,    Ultraclear

contain a single addition ingredient                                                       ; the only material

difference is                                                -                          Aluminum Zirconium

Tetrachlorohydrex GLY, is diluted from a concentration of 19.2% in D                             -

                               to 11.4%              Ultraclear

     4.         Yet even more problematic, it is well-

                  Ultraclear line of anti                             prevent           i- towards, are in fact

created and caused by that very same active ingredient, Aluminum Zirconium Tetrachlorohydrex GLY



     5.         Thus, in reality, while perhaps doing it to a slightly lesser extent than D               non-

 Ultraclear                             Ultraclear                                  causes the very problems

                                   pr

     6.                            Ultraclear is marketed as                     white marks and stains, it is

nothing more than a less-effective version of                                       perspirant that causes the

very problem it claims to solve.

     7.         Despite all this, and despite being a diluted version thereof, Unilever sells the product for

the same price as its non- Ultraclear                            product, misleading and deceiving the buying

public into paying the same amount for an inferior product while under the false impression that it is

somehow superior.

     8.         Pursuant to the MMPA, such practice is illegal.

                     II.     PARTIES, JURISDICTION, AND VENUE

     9.         Plaintiff Dan Crepps is a citizen and resident of Jefferson County, Missouri.

     10.        Plaintiff brings this Class Action Petition individually and on behalf of a putative class of

all Missouri residents.
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     11.       Defendant Conopco, Inc. d/b/a                                              is a New York

corporation having its principal place of business at 700 Sylvan Ave., Englewood Cliffs, NJ 07632.

Unilever may be served at: CT Corporation System, 120 South Central Ave., Clayton MO 63105.

     12.       Defendant Unilever advertises, distributes, markets and sells                      -branded,



     13.       The true names and capacities of the Defendants sued herein as DOES 1 through 10,

inclusive, are currently unknown to Plaintiff, who therefore sues such Defendants by fictitious names.

Each of the Defendants designated herein as a DOE is legally responsible for the unlawful acts alleged

herein. If necessary, Plaintiff will seek leave of Court to amend the Petition to reflect the true names

and capacities of the DOE Defendants when such identities become known.

     14.       Venue is proper in the Circuit Court of Jefferson County, Missouri, because the Plaintiff

resides here, and a substantial part of the events or omissions giving rise to the claims in this action

occurred in this venue.

     15.       This forum also is superior in convenience to any other, as all of the Plaintiffs are or were

Missouri citizens and are located in Missouri, and the acts complained of violated Missouri law.

     16.       This asserted class action comports with Missouri Supreme Court Rule 52.08 and with

R.S.Mo. § 407.025(3) of the MMPA

but are so numerous that simple joinder of all individuals is impracticable. This action raises questions

of law and fact common among Plaintiffs. The claims of lead Plaintiff is typical of all

Named Plaintiff will fairly and adequately protect                              is represented by attorneys

qualified to pursue this action. More specifically:

     17.       Class definition: Plaintiff Dan Crepps brings this action on behalf of himself and a class




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of similarly-situated persons preliminarily-1 defined as follows: All Missouri consumers, who, within the

Class Period, purchased             -
                2
                    in the State of Missouri. The Class Period begins five years prior to the date of the

filing of this Petition, and ceases upon the date of the filing of this Petition. Excluded from the Class

are: (a) any judges presiding over this action and members of their staffs and families; (b) the

Defendants and their subsidiaries, parents, successors, and predecessors; any entity in which the

Defendants or their

and directors; (c) employees (i) who have or had a managerial responsibility on behalf of the

organization, (ii) whose act or omission in connection with this matter may be imputed to the

organization for liability purposes, or (iii) whose statements may constitute an admission on the part of

the Defendants; (d) persons who properly execute and file a timely request for exclusion from the class;



any such excluded persons; and (g) any individual who assisted or supported the wrongful acts

delineated herein.

     18.       Numerosity: Upon information and belief, the Class includes tens of thousands, if not

hundreds of thousands, of individuals on a statewide basis, making their individual joinder

impracticable. Although the exact number of Class members and their addresses are presently unknown

to Plaintiff, they are ascertainable from Defendants records.

     19.       Typicality:              claims are typical of those of the Class because all Plaintiffs were

injured by the Defendants uniform wrongful conduct, specifically, using misleading and deceptive

marketing and advertising in offering and selling the Product to Plaintiffs.

     20.       Adequacy: Plaintiff Dan Crepps is an adequate representative of the Class because his

1 Plaintiff reserves the right to propose, as needed, any different or other more- or less-specific class,
classes, subclass, or subclasses as Plaintiff deems appropriate for purposes of class certification.
2
  As that term and label is defined in greater detail infra.
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interests do not conflict with the interests of the Class members he seeks to represent, he has retained

competent and experienced counsel, and he intends to prosecute this action vigorously. The interests of

the Class will be protected fairly and adequately by Plaintiff and his counsel.

      21.         Commonality: Common questions of law and fact exist as to all Class members and

predominate over any questions affecting only individual members, such as: (a) whether the Defendant

used deceptive or misleading marketing and advertising in selling the Product; (b) whether and to what

extent the Class members were injured                       illegal conduct; (c) whether the Class members

are entitled to compensatory damages; (d) whether the Class members are entitled to punitive damages;

(e) whether the Class members are entitled to declaratory relief; and (f) whether the Class members are

entitled to injunctive relief.

      22.         Superiority: This class action is appropriate for certification because class proceedings

are superior to all other available methods for the fair and efficient adjudication of this controversy. The

damages suffered by the individual Class members will likely be small relative to the burden and

expense of individual prosecution of the complex litigation necessitated by the Defendant          wrongful

conduct. Thus, it would be extremely difficult for the individual Class members to obtain effective

relief. A class action presents far fewer management difficulties and provides the benefits of a single

adjudication, including economies of time, effort, and expense, and uniformity of decisions.

                                     III.   BACKGROUND

      23.         Defendant manufactures, distributes, and/or sells the product at issue herein,           -



      24.                                                      Degree

manufactures and distributes, inter alia,           -

antiperspirant.

      25.               Ultraclear                                  as being superior to non-
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             -                         antiperspirant purportedly for having           -

                 s clothes against white marks                      3


       26.         The

all of which have the same ingredients and are substantially similar to be considered collectively in this

lawsuit; accordingly, all scents and



       27.         The packaging of the Product makes at least two such claims:




                          a.
       28.                         Ultraclear                ed                   -Y



       29.         However, the active ingredient in the Product is Aluminum Zirconium Tetrachlorohydrex

3   https://www.degreedeodorant.com/us/en/men/ultraclear-bw-ocean-air-antiperspirant-stick.html

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GLY. It has long been recognized, and is well-accepted,

clothing is caused, at least indirectly, by aluminum in antiperspirants (generally upon being mixed with



     30.        While the Product might in fact cause less staining than the                   MotionSense

product and/or other antiperspirants on the market, it is irrefutable that the Product will inevitably lead

and contribute to more staining on clothing than when it is not used at all.

     31.        Thus, regardless of the extent, the Product causes, at least indirectly, the exact condition

                                             that it purports t    otect against                  - towards.

     32.                                     egree -branded website, www.degreedeodorant.com, in the

                                                                      Ultraclear

advertised as                                  inter alia] stains on clothing

https://www.degreedeodorant.com/us/en/men/ultraclear-bw-ocean-air-antiperspirant-stick.html

     33.                                                                   Product is promoted as follows:

                 Some antiperspirant deodorants mix with body oils and create stains. Not this

                one. With a stain-minimizing formula, clothes are protected against white marks

                and yellow stains.

     Id.

     34.        As shown, in multiple instances, Unilever promotes the Product as

                -

Product d

Aluminum Zirconium Tetrachlorohydrex GLY, does to create stains.

     35.

causes both.

     36.        Rather than constituting a superior product relative to the non-                               -
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                                                              -                  -

the Product has essentially the same ingredients

     37.                                             -branded website, www.degreedeodorant.com, and

confirmed by corresponding product packaging, both the Product and the non- Ultraclear

                  line contain the following ingredients:

                        a. Active Ingredient: Aluminum Zirconium Tetrachlorohydrex GLY

                        b. Inactive Ingredients:

                                 i. Cyclopentasiloxane, Stearyl Alcohol, PPG-14 Butyl Ether, Fragrance

                                    (Parfum), Hydrogenated Castor Oil, PEG-8 Distearate, Caprylic/Capric

                                    Triglyceride, Sodium Starch Octenylsuccinate, Hydrated Silica,

                                    Maltodextrin, Gelatin Crosspolymer, Hydrolyzed Corn Starch, BHT,

                                    Silica, Cellulose Gum.

     38.       The only difference in the Product is that it contains Polyethylene, whereas the non-

                                                      oes not contain Talc. Upon information and belief




     39.       Moreover, while removing Talc may have a negligible affect on the white-marking

quality of the Product versus the non-



     40.       Other than those minimal changes, the only other difference between the Product and the

non- Ultraclear                                            Aluminum Zirconium Tetrachlorohydrex GLY, is

diluted from 19.2% (in the non- Ultraclear

     41.       Such dilution of an active ingredient

     42.       Rather, the dilution of an active ingredient more likely simply reduces the effectiveness
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                                                                               - Ultraclear

line.

         43.    And that deceptive fact is in addition to the worse reality that the Product causes what it

                                                            white marks; upon testing, the Product readily

creates white marks upon clothing of all colors.

         44.                      -                         anti-white marks

         45.    Merriam-                                                                              inter alia,
                                                                                      4   the Product, containing

ingredients that cause staining and white marks (even if to a lesser extent than other products), is

unquestionably not                                             -                  anti-

         46.    A normal consumer is unable to determine simply by reading the claims on the Product

                                                  list that it actually contains no                   against, or

                                                        .

         47.    While the fact is extremely well-established, a normal consumer also is unaware that

Aluminum Zirconium Tetrachlorohydrex GLY is a key factor (a

contributes to and, at least indirectly, causes                                                e Product purports



antiper

         48.    Moreover, whil

purchaser is unable to test that fact prior to purchasing the Product.

         49.    Upon information and belief, Defendant Unilever profits from the wide-spread practice of

selling a diluted version of its regular product for the same price as non-diluted versions.

4   https://www.merriam-webster.com/dictionary/anti


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      50.      Upon information and belief, it is cheaper for Unilever to produce the Product, a

relatively-diluted version of its regular antiperspirant, than it is to produce its non-

antiperspirant, such as the                   -                             line of antiperspirants.

      51.      Upon information and belief, Defendant Unilever deceptively and misleadingly markets

the Product as falsely                                                                                 to hide the

fact from consumers that the Product is, in fact, inferior in its primary purpose, preventing perspiration,

and is cheaper to produce.

      52.      Defendant s marketing and selling of the Product by use of the aforementioned false,

deceptive, and misleading statements is illegal and prohibited under the MMPA.

                   Facts Particular to Dan Crepps and Representative of the Proposed Class

      53.      In or around July of 2019,

Product on www.degreedeodorant.com, Plaintiff visited a retail outlet for Unilever products, particularly

Walgreens.

      54.      While there, Plaintiff observed that the Product was being sold for the same price as

            Degree -                              antiperspirant.

      55.      Due     to     the   claims   on     the    packaging   as     well    as   the   statements    on

www.degreedeodorant.com, Plaintiff falsely believed he was purchasing a product that was equally

                                                                                                  hite marks and

stains;



      56.      Plaintiff thereafter purchased the Product.

      57.      At the time he purchased the Product, Plaintiff was unaware of the falsity of

                                         s online claims regarding the Product.

      58.      If Plaintiff had been
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regarding the Product, he would not have bought the Product.

        59.    When Plaintiff purchased the Product, he was injured by Defendant

false, and misleading conduct in marketing and selling the Product.

        60.    Although the aforementioned facts apply to named Plaintiff, for purposes of the proposed

class, all that is relevant is that Plaintiff and the class members, Missouri citizens, purchased the Product

at a time within the Class Period while in Missouri.



                                         CAUSES OF ACTION

COUNT ONE: VIOLATION OF THE MMPA                       Misleading, False, and Deceptive Marketing

        61.    Plaintiff hereby incorporates by reference and re-alleges each allegation set forth in each

preceding paragraph of this Petition, as though fully set forth herein.

        62.                                                     rred in and emanated from the State of

Missouri.

        63.

those terms are defined under the MMPA.

        64.

false pretense, misrepresentation, unfair practice, or, at a minimum, the concealment, suppression, or

omission of a material fact in violation of the Missouri Merchandising Practices Act, Mo. Rev. Stat.

chap.                  , in particular, Defendant marketed the Product by falsely claiming



        65.    As a result of

deceived that the Product they were purchasing contained the claimed benefits and that it           otected

and/or prevent against conditions it actually contributes to and indirectly and directly causes.

        66.
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within the meaning of the MMPA. In particular, Plaintiff and the class paid for a Product that did not, in

fact, contain the benefits claimed and did not,           protect                            the conditions

Defendant purports it did; the Product was not

      67.       Due to Defendant s illegal conduct, Plaintiffs are entitled to restitution of all funds

improperly obtained by Defendant.

      68.       In addition, Defendant s conduct as aforesaid was wanton, willful, outrageous, and in

reckless indifference to the rights of Plaintiffs and others similarly situated and, therefore, warrants the

imposition of punitive damages.

      69.       Plaintiffs have been forced to hire attorneys to enforce their rights under the MMPA.

COUNT TWO: INJUNCTIVE RELIEF

      70.       Plaintiff hereby incorporates and adopts by reference each and every allegation set forth

above.

      71.       Defendant continues to retain payment made by Plaintiff and other members of the Class

for the Product that is the result of Defendant s deceptive and misleading marketing in violation of the

MMPA.

      72.       Applicable law, including R.S. Mo. § 407.025, permits the Court to enter injunctive relief

to prevent Defendant s continued violation of the law by continuing to falsely state that the Product

                              against white marks and/or yellow staining.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for an order certifying this action as a class action and appointing

Plaintiff Dan Crepps as class representative and his counsel as class counsel. Plaintiff requests that this

court find that the Defendant violated the MMPA, and award Plaintiffs compensatory damages,

restitution,                                   costs, and such further relief as the Court deems just.


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                                                   Respectfully submitted,

                                                   DANIEL F. HARVATH, ESQ.

                                                   By: /s/ Daniel F. Harvath
                                                   Daniel F. Harvath, #57599MO
                                                   HARVATH LAW GROUP, LLC
                                                   75 W. Lockwood, Suite #1
                                                   Webster Groves, MO 63119
                                                   (314) 550-3717
                                                   dharvath@harvathlawgroup.com
                                                   Attorney for Plaintiff




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                    IN THE CIRCUIT COURT OF JEFFERSON COUNTY
                                STATE OF MISSOURI

                ,                             )
                                            , )
                                              )
                Plaintiffs,                   )       JURY TRIAL DEMANDED
                                              )
v.                                            )
                                              )       Case No.19JE-CC0004
CONOPCO, INC.,                                )
                                              )
                Defendants.                   )


                          REQUEST FOR ISSUANCE OF SUMMONS

                Plaintiffs herein request the Issuance of Summons for Defendant Conopco, Inc., and

that the Circuit Clerk appoint:

        (A qualified agent of)
                                  105 South Central, Ave. 5th Floor, Clayton, MO 63105

                Natural person(s) of lawful age, to serve the summons and petition in this cause on

the below-named party:

                CONOPCO, INC.
                C T Corporation System
                120 South Central, Ave.
                Clayton, MO 63105

                                               Respectfully submitted,
                                               By: /s/ Daniel F. Harvath
                                               Daniel F. Harvath, #57599MO
                                               HARVATH LAW GROUP, LLC
                                               75 W. Lockwood, Suite #1
                                               Webster Groves, MO 63119; (314) 550-3717
                                               dharvath@harvathlawgroup.com
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              IN THE 23RD JUDICIAL CIRCUIT, JEFFERSON COUNTY, MISSOURI

 Judge or Division:                                            Case Number: 19JE-CC00490
 BRENDA STACEY
 Plaintiff/Petitioner:                                                          Attorney/Address:
 DANIEL CREPPS                                                 DANIEL FRANCIS HARVATH
                                                               8923 LITZSINGER RD
                                                         vs.   SAINT LOUIS, MO 63144
 Defendant/Respondent:                                         Court Address:
 CONOPCO, INC.                                                 P O BOX 100
 Nature of Suit:                                               300 MAIN ST
 CC Pers Injury-Other                                          HILLSBORO, MO 63050                                        (Date File Stamp)
                           Summons for Personal Service Outside the State of Missouri
                                                          (Except Attachment Action)
  The State of Missouri to:     CONOPCO, INC.
                                Alias:
  700 SYLVAN AVE
  ENGLEWOOD CLIFFS, NJ 07632

     COURT SEAL OF              You are summoned to appear before this court and to file your pleading to the petition, copy of
                                which is attached, and to serve a copy of your pleading upon the attorney for the
                                plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                                you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                                taken against you for the relief demanded in this action.
                               8-07-2019               Michael E Reuter, Circuit Clerk
   JEFFERSON COUNTY                                     /s/ Katie Steward, Deputy Clerk
                               Further Information:


     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is __________________________________ of ______________________ County, ________________ (state).
     3. I have served the above summons by: (check one)
                delivering a copy of the summons and a copy of the petition to the defendant/respondent.
                leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent
                over the age of 15 years who permanently resides with the defendant/respondent.
                (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                __________________________________________ (name) ___________________________________________ (title).
                 other: ___________________________________________________________________________________________.
     Served at ______________________________________________________________________________________ (address)
     in _____________________________County, _______________ (state), on _______________ (date) at ____________ (time).

     _________________________________________________                               ______________________________________________________
                   Printed Name of Sheriff or Server                                                 Signature of Sheriff or Server
                              Subscribed and sworn to before me this ___________ (day) ______________ (month) _________ (year).
                                I am: (check one)   the clerk of the court of which affiant is an officer.
                                                    the judge of the court of which affiant is an officer.
                                                    authorized to administer oaths in the state in which the affiant served the above
          (Seal)
                                                     summons. (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                                __________________________________________________________
                                                                                                    Signature and Title
    Service Fees
    Summons        $___________________
    Non Est        $___________________
    Mileage        $___________________ (_______________miles @ $ _______ per mile)
    Total          $___________________
                              See the following page for directions to officer making return on service of summons.




OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 19-SMOS-43                  1 of 2 (19JE-CC00490)       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                          506.500, 506.510 RSMo
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                             Directions to Officer Making Return on Service of Summons

     A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
     defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
     prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the


     Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by

     person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
     a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
     process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
     a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
     Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
     the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
     business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
     registered agent or to any other agent authorized by appointment or required by law to receive service of process;
     (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
     corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

     Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

     Service may be made in any state or territory of the United States. If served in a territory, substitute the word


     The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
     the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
     manner of service, the official character of the affiant, and the affiant
     within the state or territory where service is made.

     Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
     appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
     30 days after service.




OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 19-SMOS-43      2 of 2 (19JE-CC00490)        Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                               506.500, 506.510 RSMo
                                                                                  Û´»½¬®±²·½¿´´§ Ú·´»¼ ó Ö»ºº»®-±² ó ß«¹«-¬ ïëô îðïç ó ðîæïì ÐÓ
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                                                                                  Û´»½¬®±²·½¿´´§ Ú·´»¼ ó Ö»ºº»®-±² ó ß«¹«-¬ ïëô îðïç ó ðîæïì ÐÓ
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              Case: 4:19-cv-02554-SEP Doc. #: 1-2 Filed: 09/13/19 Page: 22 of 22 PageID #: 49

                                                           NOTICE OF ENTRY
                                                       (SUPREME COURT RULE 74.03)

                               In The 23rd Judicial Circuit Court, Jefferson County, Missouri
                                     P O BOX 100, 300 MAIN ST, HILLSBORO, MISSOURI 63050
DANIEL CREPPS V CONOPCO, INC.                                                                                      CASE NO : 19JE-CC00490



To:    File




YOU ARE HEREBY NOTIFIED that the court duly entered the following:
Filing Date   Description


23-Aug-2019        Civil Setting Scheduled
                   Scheduled For: 18-Oct-2019 1:30 PM; DIANNA LYNN BARTELS; Division 3 Courtroom; Jefferson
                   STATUS DIV 4 TRANSFER
                   Event Location:   P O Box 100,300 Main St,Hillsboro, Mo




                                                                                                       Clerk of Court

CC:            File
               CONOPCO, INC.
ECC:
Date Printed : 04-Sep-2019




                               For additional information on your case, please check Case.Net at www.courts.mo.gov/casenet
                                                                            V17.0
